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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA


Douglas A. Kelley, in his capacity as             Case No. 19-cv-1756 (WMW)
the Trustee of the BMO Litigation Trust,

                         Plaintiff,

      v.                                             FINAL JURY
                                                     INSTRUCTIONS
BMO Harris Bank N.A., as successor
to M&I Marshall and Ilsley Bank,

                         Defendant.




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                        JURY INSTRUCTION 1

       Members of the jury, the instructions I gave at the beginning of the
trial and during the trial are still in effect. Now I will give you additional
instructions.

      You must follow all of my instructions—the ones I gave you earlier,
as well as those I give you now. Do not single out some instructions and
ignore others, because they are all important. This is true even though I will
not repeat some of the instructions I gave you at the beginning of or
during the trial.

      In the jury room, you will have copies of the instructions I am about
to give you now. Remember, you have to follow all instructions, no matter
when I give them, whether or not you have written copies.




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                        JURY INSTRUCTION 2

       BMO Harris Bank N.A. (BMO) is a corporation, and M&I Marshall
and Ilsley Bank (M&I) and Petters Company, Inc. (PCI) were corporations.
A corporation is entitled to the same fair trial as a private individual. All
litigants, including corporations and other organizations, stand equal before
the law, and are to be treated as equals in a court of justice.

      A corporation acts only through its agents or employees, and any
agent or employee of a corporation binds the corporation when acting
within the scope of his or her duties as an employee of the corporation.

     As a general rule, when corporations merge, the surviving
corporation takes on the obligations of the non-surviving corporation.
You have been told or seen evidence that M&I merged into the Harris
Bank N.A. to form BMO Harris Bank N.A. Therefore, as a result of this
merger, BMO is responsible for all of M&I’s liabilities.




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                        JURY INSTRUCTION 3

       When I use the word “evidence,” I mean the testimony of witnesses,
documents and other things I received as exhibits, facts that I told you the
parties have agreed are true and any other facts that I told you to accept as
true. Some things are not evidence. I will tell you now what is not evidence:
     1. Lawyers’ statements, arguments, questions and comments are not
        evidence.

     2. Documents or other things that might have been in court or were
        talked about, but that I did not receive as exhibits, are not
        evidence.

     3. Objections are not evidence. Lawyers have a right—and
        sometimes a duty—to object when they believe something should
        not be a part of the trial. Do not be influenced one way or the
        other by objections. If I sustained a lawyer’s objection to a
        question or an exhibit, that means the law does not allow you to
        consider that information. When that happens, you have to ignore
        the question or the exhibit, and you must not try to guess what the
        information might have been.

     4. Testimony and exhibits that I struck from the record, or told you
        to disregard, are not evidence, and you must not consider them.

     5. Anything you saw or heard about this case outside the courtroom
        is not evidence, and you must not consider it.
      Some of you may have heard the terms “direct evidence” and
“circumstantial evidence.” You should not be concerned with those terms,
as the law makes no distinction between the weight to be given to direct
and circumstantial evidence.



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                        JURY INSTRUCTION 4

      Certain charts, graphics and summaries have been shown to you but
not admitted into evidence in order to help explain the facts disclosed by
the books, records, or other underlying evidence in the case. Those charts,
graphics and summaries are used for convenience. They are not themselves
evidence or proof of any facts. If they do not correctly reflect the facts
shown by the evidence in the case, you should disregard these charts,
graphics and summaries and decide the facts from the books, records or
other underlying evidence.

      Certain summaries and charts were admitted in evidence as Exhibits
703, 705, 706, 713, 40495 and 50928. You may use those summaries and
charts as evidence, even if the underlying documents and records are not
here. However, the accuracy of those summaries and charts has been
challenged. It is for you to decide how much weight, if any, you will give to
them. In making that decision, you should consider all of the testimony you
heard about the way they were prepared.




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                       JURY INSTRUCTION 5

      In deciding what the facts are, you may have to decide what
testimony you believe and what testimony you do not believe. You may
believe all of what a witness said, or only part of it, or none of it.

       You may consider a witness’s intelligence; the opportunity the
witness had to see or hear the things testified about; a witness’s memory,
knowledge, education and experience; any reasons a witness might have for
testifying a certain way; how a witness acted while testifying; whether a
witness said something different at another time; whether a witness’s
testimony sounded reasonable; and whether or to what extent a witness’s
testimony is consistent with other evidence you believe.

      In deciding whether to believe a witness, remember that people
sometimes hear or see things differently and sometimes forget things. You
will have to decide whether a contradiction is an innocent misrecollection,
or a lapse of memory, or an intentional falsehood. That may depend on
whether it has to do with an important fact or only a small detail.




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                        JURY INSTRUCTION 6

      You have heard testimony from experts—Catherine Ghiglieri,
Theodore Martens, Karl Jarek and Charles Grice—who testified to
opinions and the reasons for the opinions. This opinion testimony is
allowed because of the education or experience of these witnesses.
      You should judge this opinion testimony just as you would any other
testimony. You may accept it or reject it and give it the weight as you think
it deserves, considering the witness’s education and experience, the reasons
given for the opinion, and all other evidence in this case.




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                        JURY INSTRUCTION 7

      You have seen and heard evidence pertaining to examinations
conducted by the Federal Reserve Bank of Chicago. This evidence may be
considered by you only for the purpose of evaluating the accuracy and
credibility of the opinions and testimony of Catherine Ghiglieri and Charles
Grice. This evidence may not be considered for any other purpose.




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                      JURY INSTRUCTION 8

      You have heard evidence that a witness—Deanna Coleman, also
referred to as Deanna Munson—has been convicted of crimes. You may
use that evidence to help you decide whether to believe the witness and
how much weight to give her testimony.




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                       JURY INSTRUCTION 9

      You have heard evidence that BMO destroyed email backup tapes
that should have been preserved. You may, but are not required to, assume
that the contents of the destroyed email backup tapes would have been
adverse, or detrimental, to BMO.




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                        JURY INSTRUCTION 10

      The burden is on the plaintiff in a civil action, such as this, to prove
every essential element of his claims by the greater weight of the evidence.
If the proof should fail to establish any essential element of a claim by the
greater weight of the evidence in the case, the jury should find for the
defendant as to that claim.
      At the same time, the burden is on the defendant to prove every
essential element of its affirmative defenses by the greater weight of the
evidence. If the proof should fail to establish any essential element of an
affirmative defense by the greater weight of the evidence in the case, the
jury should find for the plaintiff as to that affirmative defense.
      You must decide whether certain facts have been proved by the
greater weight of the evidence. A fact has been proved by the greater
weight of the evidence, if you find that it is more likely true than not true.
You decide that by considering all of the evidence and deciding what
evidence is more believable.
      You have probably heard the phrase “proof beyond a reasonable
doubt.” That is a stricter standard than “more likely true than not true.” It
applies in criminal cases, but not in this civil case; it does not apply here.




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                        JURY INSTRUCTION 11

      Let me now turn to the four claims asserted by Plaintiff Douglas A.
Kelley, in his capacity as the Trustee of the BMO Litigation Trust, in this
case and what he must prove to prevail on each of them. In order to
prevail on any claim, Plaintiff must prove each of the elements of that
claim by the greater weight of the evidence.
      Plaintiff Kelley is what is known as a Litigation Trustee, and he is
here bringing claims for harm that he alleges was done to PCI by BMO.
Plaintiff alleges four claims, or “counts,” against BMO:

          Count I: Violation of the Minnesota Uniform Fiduciaries Act
      (MUFA), Minnesota Statutes § 520.08
            Count II: Breach of Fiduciary Duty
            Count III: Aiding and Abetting Fraud
            Count IV: Aiding and Abetting Breach of Fiduciary Duty

        In response to Plaintiff’s claims, BMO asserts affirmative defenses to
liability: statute of limitations, consent and ratification. I will now instruct
you as to the legal elements of each claim and each affirmative defense.




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                        JURY INSTRUCTION 12

      In Count I, Plaintiff claims that BMO violated the Minnesota
Uniform Fiduciaries Act. To satisfy his burden of proof as to this claim,
Plaintiff must prove, with respect to each individual transfer that he alleges
violated this law, the following four elements:
            First, M&I knew it was dealing with a fiduciary of PCI who was
      empowered to wire funds from the PCI Account or write a check
      against the PCI Account;
          Second, M&I allowed a PCI fiduciary to wire funds from the PCI
      Account or write a check against the PCI Account;
            Third, by wiring funds from the PCI Account or writing a check
      against the PCI Account, the PCI fiduciary breached a fiduciary duty
      owed to PCI; and
           Fourth, either M&I had actual knowledge that the PCI fiduciary
      was committing a breach of an obligation as a fiduciary in completing
      a specific wire transfer or writing a specific check, or M&I had
      knowledge of such facts so that M&I’s action in wiring the funds or
      paying the check amounted to bad faith.




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                           JURY INSTRUCTION 13

      The following instructions apply to Count I:
Fiduciary
            A “fiduciary” includes a trustee under any trust, expressed,
      implied, resulting or constructive, an executor, an administrator, a
      guardian, a conservator, a curator, a receiver, a trustee in bankruptcy,
      an assignee for the benefit of creditors, a partner, an agent, an officer
      of any corporation public or private, a public officer, or any other
      person acting in a fiduciary capacity for any person, trust or estate.
           Here, the parties have agreed that Tom Petters, Deanna
      Coleman and Robert White each had a fiduciary duty to PCI. You
      may accept these fiduciary duties as proven.

Breach of Fiduciary Duty
             A fiduciary breaches his or her fiduciary duty if the fiduciary
      fails to act in the best interests of the principal and with the care an
      ordinarily prudent person in a like position would exercise under
      similar circumstances.

Knowledge
            Knowledge may be proven by direct or circumstantial evidence.

Bad Faith
            An act done with dishonesty of belief, purpose or motive
      constitutes bad faith. An act that is done honestly, even if it was
      done negligently, cannot support a finding of bad faith.



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                      JURY INSTRUCTION 14

     In Count II, Plaintiff claims that M&I breached a fiduciary duty,
which Plaintiff alleges M&I owed to PCI as a result of the Deposit
Account Control Agreements and Deposit Account Management
Agreement about which you heard evidence in this case. To satisfy his
burden of proof as to this claim, Plaintiff must prove the following three
elements:
           First, M&I owed a fiduciary duty to PCI;
           Second, M&I breached that fiduciary duty; and
          Third, M&I’s breach of that fiduciary duty proximately caused
     harm to PCI.




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                            JURY INSTRUCTION 15

      The following instructions apply to Count II:
Fiduciary Duty:
      A bank owes its depositor a fiduciary duty if a bank and its depositor
have what is known as a “special relationship.” A party seeking to establish
the existence of a special relationship must prove that:
            (1) a bank knew or had reason to know that its depositor was
      placing a high level of trust and confidence in the bank and relying
      on the bank to counsel and inform it;
            (2) a depositor in fact placed a high level of confidence in its
      bank, which resulted in the bank exercising superiority and influence
      over the depositor;
            (3) a bank and its depositor had a confidential relationship and
      the bank had greater access to relevant facts and legal resources than
      the depositor; or
            (4) a bank and its depositor had different levels of business
      experience and the bank invited the depositor to place its confidence
      in the bank.
Breach of Fiduciary Duty:
     A fiduciary breaches its fiduciary duties if the fiduciary fails to act in
the best interests of the principal and with the care an ordinarily prudent
person or entity in a like position would exercise under similar
circumstances.
Proximate Cause:
      A proximate cause is a cause that has a substantial part in bringing
about the alleged harm. There may be more than one proximate cause that
contributes to a harm.

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                      JURY INSTRUCTION 16

     In Count III, Plaintiff claims that M&I aided and abetted fraud by
providing substantial assistance to Tom Petters, Deanna Coleman and/or
Robert White with knowledge of their fraud. To satisfy his burden of
proof as to this claim, Plaintiff must prove the following four elements:
         First, that Tom Petters, Deanna Coleman and/or Robert White
     committed a fraud that caused harm to PCI;
         Second, that M&I knew that the conduct of Tom Petters,
     Deanna Coleman and/or Robert White constituted a fraud;
           Third, that M&I substantially assisted or encouraged Tom
     Petters, Deanna Coleman and/or Robert White in committing the
     fraud; and
           Fourth, that M&I’s substantial assistance or encouragement was
     a proximate cause of PCI’s harm.




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                          JURY INSTRUCTION 17

        The following instructions apply to Count III:
Fraud
              Fraud occurs if an individual (1) falsely represents a past or
        present material fact to another person or entity; (2) at the time the
        representation was made, the individual knew that his or her
        representation of the material fact was false; (3) the individual made
        the false representation with the intent that the other person or entity
        would rely on it; (4) the other person or entity reasonably relied and
        acted on the false representation; and (5) the other person or entity
        was harmed as a result of relying on the false representation.
              The parties have introduced into evidence the criminal
        convictions of PCI, Thomas Petters, Deanna Coleman and Robert
        White. Under the Federal Rules of Evidence, evidence of a final
        judgment of conviction can be used to prove any fact essential to the
        judgment. I am instructing you that the following facts were essential
        to those convictions. In other words, you may infer that, when
        finding Petters, Coleman and White guilty, the following facts were
        either admitted to by those criminal defendants or proven beyond a
        reasonable doubt:

                    Through September 2008, Thomas J. Petters was the
             owner, director and CEO of Petters Company, Inc. (“PCI”),
             and Deanna Coleman and Robert White were corporate
             officers of PCI. During that time, Petters, Coleman and White
             used PCI to operate a criminal scheme to defraud investors,
             also known as a Ponzi scheme. Specifically, PCI obtained
             billions of dollars in money and property based on false
             statements to investors that PCI was purchasing consumer

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             electronic goods from two supplier companies and then selling
             those goods to big-box retailers. In connection with this
             scheme, Petters, Coleman and White used fake purchase orders,
             invoices and other documents to fraudulently induce investors
             to loan money to PCI. But rather than using the loan proceeds
             to purchase consumer goods for sale to retailers, Petters and
             PCI used the funds to, among other things, make lulling
             payments to investors and to pay themselves. In connection
             with the fraud, Petters or his co-conspirators caused money to
             be transferred to and from PCI’s bank accounts.

Material Fact
            A fact is “material” if it would have influenced the other
      person’s judgment or decision had the other person known about it.
      An omission of a material fact is treated as a misrepresentation when
      the person who omitted the material fact had a fiduciary duty to the
      person from whom it was omitted. Here, Petters, Coleman and
      White had a fiduciary duty to the creditors.

Knowledge

             Knowledge may be proven by direct or circumstantial evidence.

Substantial Assistance

            “Substantial assistance” is an affirmative step that is a
      substantial factor in bringing about an end result.

Knowledge and Substantial Assistance Evaluated in Tandem

             For aiding-and-abetting claims, knowledge and substantial
      assistance are evaluated in tandem. Therefore, the stronger the
      evidence of a person or entity’s general awareness of fraud, the less
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     evidence of that person’s or entity’s substantial assistance is required.
     Similarly, the stronger the evidence of a person or entity’s substantial
     assistance, the less evidence of general awareness is required.

Proximate Cause

           A proximate cause is a cause that had a substantial part in
     bringing about the harm at issue. There may be more than one
     proximate cause that contributes to a harm.




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                       JURY INSTRUCTION 18

      Count IV alleges that M&I aided and abetted a breach of fiduciary
duty. To satisfy his burden of proof as to this claim, Plaintiff must prove
the following four elements:

          First, that Tom Petters, Deanna Coleman or Robert White
     breached a fiduciary duty they owed to PCI;

           Second, that M&I knew that the conduct of Tom Petters,
     Deanna Coleman or Robert White constituted a breach of fiduciary
     duty to PCI;

           Third, that M&I substantially assisted or encouraged Tom
     Petters, Deanna Coleman or Robert White in committing their
     breach of a fiduciary duty owed to PCI; and

           Fourth, that M&I’s substantial assistance or encouragement was
     a proximate cause of PCI’s harm.




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                           JURY INSTRUCTION 19

      The following instructions apply to Count IV:

Fiduciary Duty
            Here, the parties agree that Tom Petters, Deanna Coleman and
      Robert White each had a fiduciary duty to PCI. You may accept these
      fiduciary duties as proven.
Breach of Fiduciary Duty
             A fiduciary breaches his or her fiduciary duty if the fiduciary
      fails to act in the best interests of the principal and with the care an
      ordinarily prudent person in a like position would exercise under
      similar circumstances.
Knowledge
             Knowledge may be proven by direct or circumstantial evidence.
Substantial Assistance
            “Substantial assistance” is an affirmative step that is a
      substantial factor in bringing about an end result.

Knowledge and Substantial Assistance Evaluated in Tandem
             For aiding-and-abetting claims, knowledge and substantial
      assistance are evaluated in tandem. Therefore, the stronger the
      evidence of a person’s or entity’s general awareness of breach of
      fiduciary duty, the less evidence of that person’s or entity’s substantial
      assistance is required. Similarly, the stronger the evidence of
      substantial assistance, the less evidence of general awareness is
      required.



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Proximate Cause

           A proximate cause is a cause that had a substantial part in
     bringing about the harm at issue. There may be more than one
     proximate cause that contributes to a harm.




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                        JURY INSTRUCTION 20

       BMO’s first affirmative defense alleges that Plaintiff’s claims are
barred by the statute of limitations. Your verdict must be for BMO and
against Plaintiff on any counts for which you find that BMO has proved
this affirmative defense by the greater weight of the evidence.
      Plaintiff’s claims have a six-year statute of limitations. This means that
such claims must be brought within six years of the date the claims accrued.
This lawsuit commenced on November 15, 2012. Plaintiff’s claims accrued
when the relevant facts supporting each element came into existence,
including damages. Facts supporting damages exist when some non-
speculative, compensable harm occurs.
      You must decide for each of Plaintiff’s claims whether BMO has
proven by the greater weight of the evidence that the claim accrued more
than six years before November 15, 2012.
      If you find that BMO has proven that a claim accrued more than six
years before November 15, 2012, you must also determine whether any
actions by M&I or BMO suspended the statute of limitations for that
claim. In order to find any such suspension of the statute of limitations,
Plaintiff must prove by the greater weight of the evidence:
            First, that fraudulent or intentional concealment of the facts
      establishing a claim occurred. If you find such concealment, Plaintiff
      must also prove that the concealment was affirmative, unless you find
      that the concealment occurred in a fiduciary relationship.
            Second, that the concealment was not and could not have been
      discovered by Plaintiff, exercising reasonable diligence, until within
      six years of November 15, 2012.
            Third, that the concealment was not the result of Plaintiff’s own
      negligence.
      If you find that Plaintiff has proved suspension of the statute of
limitations, then BMO has not proved its statute-of-limitations defense.
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                         JURY INSTRUCTION 21

      BMO’s second affirmative defense alleges that Plaintiff’s claims are
barred by consent or ratification. Your verdict must be for BMO and
against Plaintiff on any counts for which you find that BMO has proved
this defense by the greater weight of the evidence.
Consent
            Consent occurs when someone, having full knowledge of all
      material facts related to an otherwise unauthorized act, expressly or
      implicitly agrees to the act.
Ratification
            Ratification occurs when someone, having full knowledge of all
      material facts related to an otherwise unauthorized act, approves or
      affirms the act.
Full Knowledge of Material Facts
            A person or entity cannot be charged with full knowledge of
      the material facts related to an otherwise unauthorized act based on
      the knowledge of someone acting to defraud that person or entity.




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                       JURY INSTRUCTION 22

     I will now instruct you on the issue of compensatory damages.
      The fact that I am about to instruct you as to the proper measure of
damages should not be considered as suggesting any view of mine as to
which party is entitled to your verdict in this case. Instructions as to the
measure of damages are given for your guidance in the event that you find
in favor of Plaintiff from the greater weight of the evidence in the case in
accordance with the other instructions.




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                      JURY INSTRUCTION 23

      Questions 5 and 6 in the verdict form are the damages questions. If
your verdict is for Plaintiff and against BMO on any count, you must decide
what damages to award. When you decide damages, do not consider the
possible effect of your answers to other questions.

     The term “damages” means a sum of money that will fairly and
adequately compensate PCI for any harm.

     A party asking for damages must prove the nature, extent, duration
and consequences of the alleged harm. You must not decide damages
based on speculation or guess.




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                       JURY INSTRUCTION 24

      Plaintiff may not recover compensatory damages twice under two
different counts in the same case for the same harm. Therefore, if you find
that Plaintiff is entitled to a verdict on more than one of its counts, you
should take care to avoid awarding duplicative damages.




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                         JURY INSTRUCTION 25

      If your verdict is for Plaintiff and against BMO on any count, and if
you find that there is clear and convincing evidence that BMO acted with
deliberate disregard for the rights or safety of others, then you can award
Plaintiff additional damages. These “punitive damages” are intended to
punish BMO and discourage others from behaving in a similar way.
Punitive damages may not be used to punish BMO for harm to persons
other than PCI in this case, however.
      The evidence must convince you that BMO acted with deliberate
disregard for the rights of others. You must have a firm belief, or be
convinced there is a high probability, that BMO acted this way.

Clear and Convincing Evidence

      Clear and convincing evidence means that the thing to be proved is
highly probable or reasonably certain. Clear and convincing evidence
requires a higher degree of persuasion than the greater weight of the
evidence.

Deliberate Disregard

      Deliberate disregard means that BMO:

            1.     Knew about facts or intentionally ignored facts that
                   created a high probability of harm to the rights or safety
                   of others; and

            2.     Deliberately acted with

                   a. conscious or intentional disregard; or

                   b. indifference to the high probability of harm to the
                      rights or of others.

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                      JURY INSTRUCTION 26

      When considering punitive damages, you may award punitive
damages against a principal because of an act done by an agent of that
principal only if:

  1. The principal authorized the performance of the act and the manner
     in which the act was performed;

  2. The agent was unfit and the principal deliberately disregarded a high
     probability that the agent was unfit;

  3. The agent was employed in a managerial capacity with authority to
     establish policy and make planning-level decisions for the principal
     and was acting in the scope of that employment; or

  4. The principal or a managerial agent of the principal, described in
     clause 3 above, ratified or approved the act while knowing of its
     character and probable consequences.




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                      JURY INSTRUCTION 27

   If you decide to award punitive damages, consider, among other things,
the following factors:

  1. The seriousness of the hazard to the public that may have been or
     was caused by any misconduct by M&I;

  2. The profit M&I made as a result of the misconduct;

  3. The length of time of the misconduct and if M&I hid it;

  4. The amount M&I knew about the hazard and of its danger;

  5. The attitude and conduct of M&I when the misconduct was
     discovered;

  6. The number and level of employees involved in causing or hiding the
     misconduct;

  7. The financial state of BMO; and

  8. The total effect of other punishment likely to be imposed on BMO as
     a result of the misconduct. This includes compensatory and punitive
     damage awards to PCI and other persons.




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                        JURY INSTRUCTION 28

      There are rules you must follow when you go to the jury room to
deliberate and return with your verdict.
      First, you will select a foreperson. That person will preside over your
discussions and speak for you here in court.
      Second, your verdict must be the unanimous decision of all jurors.
Therefore, it is your duty, as jurors, to discuss this case with one another in
the jury room. You should try to reach agreement, if you can do this
without going against what you believe to be true.
      Each of you must come to your own decision, but only after you
have considered all the evidence, discussed the evidence fully with your
fellow jurors, and listened to the views of your fellow jurors.
       Do not be afraid to change your mind if the discussion persuades you
that you should. But, do not come to a decision just because other jurors
think it is right, or just to reach a unanimous verdict. Remember you are
not for or against any party. You are judges – judges of the facts. Your only
job is to study the evidence and decide what is true.
      Third, during your deliberations, including during any recess taken
during deliberations, you must not, directly or indirectly, communicate with
or provide any information to anyone by any means or by any medium,
about anything relating to this case, until I accept your verdict and
discharge you from further service in this case.
      Fourth, as stated in my instructions at the beginning of the trial, you
may not in any manner seek out or receive any information about the case
from any source other than the evidence received by the court and the law
of the case I have provided to you.
     You are only permitted to discuss the case with your fellow jurors
during deliberations because they have seen and heard the same evidence
you have. In our judicial system, it is important that you are not influenced
by anything or anyone outside of this courtroom. Otherwise, your decision
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may be based on information known only by you and not your fellow
jurors or the parties in the case. This would unfairly and adversely impact
the judicial process.
      Fifth, if you need to communicate with me during your deliberations,
send me a note signed by one or more of you. Give the note to the court
security officer and I will answer you as soon as I can, either in writing or
here in court. While you are deliberating, do not tell anyone—including
me—how many jurors are voting for any side.
      Sixth, nothing I have said or done was meant to suggest what I think
your verdict should be. The verdict is entirely up to you.
      Finally, the verdict form is your written decision in this case. You will
take this form to the jury room, and when you have all agreed on the
verdict, your foreperson will fill in the form, sign and date it and tell the
court security officer that you are ready to return to the courtroom. I will
read the verdict form to you now.




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